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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

SEALED/EX PARTE
UNITED STATES OF AMERICA, )
) Crim. No. 13-2106 MBB
v. )
)
)
DZHOKHAR TSARNAEV )

SEALED EX PARTE MOTION TO ORDER THE BUREAU OF
PRISONS TO PERMIT COUNSEL TO TAKE PHOTOGRAPHS
OF THE DEFENDANT AND HIS INJURIES
The Defendant, Dzhokhar Tsarnaev, by counsel, files this Ex Parte, Sealed Motion
for An Order Compelling the Bureau of Prisons to Permit Defense Counsel to Photograph
the Defendant and his Injuries, and to Provide Copies of Pictures to Defense Counsel.
Defendant Dzhokhar Tsarnaev was arrested on or about April 19, 2013, and
hospitalized with injuries, including apparent gunshot wounds to his head, neck, legs, and
hand. He was released from the hospital on or about April 23, 2013, and transferred to
FMC Devens, a Federal Bureau of Prisons facility. The extent, severity and duration of
these injuries are obviously among the totality of the circumstances that a court and jury
may need to consider in assessing both the voluntariness and the reliability of any
statements made by the accused after his arrest. Because such statements may have
critical significance in the determination of both the defendant’s guilt or innocence and

his punishment if convicted, the need to have ongoing documentation of his injuries is

self-evident.
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In order to effectuate the development and preservation of potential defense
evidence, counsel asked BOP counsel to permit the defense to take pictures of their
client’s injuries. As of Friday, May 3, 2013, BOP declined to permit defense counsel to
take the pictures. On Monday, May 6, 2013, BOP counsel Les Owens advised that BOP
staff had taken pictures of Dzhokhar when he arrived at FMC Devens, but that those
pictures could only be produced to defense counsel pursuant to a subpoena or a court
order. BOP still declined to permit counsel to take current pictures of Dzhokhar’s
injuries, but offered to have a BOP staff member take pictures, and to make the pictures
available to both parties upon request.

By way of this motion, defense counsel seek:

1. A court order compelling BOP to permit counsel to take current pictures of
their client’s injuries (and to do so periodically until the injuries are healed);
and,

2. Alternatively, should the Court direct that BOP may take the pictures, a court
order restricting the production of all BOP generated photographs of the
defendant to defense counsel only, and not to the prosecution.

Counsel have been informed that BOP staff took pictures of Dzhokhar’s injuries
upon his admission to FMC Devens, but are not aware of the extent of this photographic
documentation, or the existence of any other photographs taken by either the hospital
facility, the U.S. Marshal’s office, or by law enforcement following his arrest.
Dzhokhar’s injuries remain serious and visible to the naked eye to this date. Medical

records provide descriptions of the injuries and measures taken to treat those injuries, but
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such descriptions are in a technical language which may be difficult for jurors, or the
defense team and court for that matter, to easily comprehend. Photographs obviously are
a direct means of presenting the evidence. if and when it is determined by the defense to
be needed, more easily understandable, and can help to elicit explanations from medical
professionals.

During an ex parte hearing on May 3, 2013, the Court questioned the need to
proceed ex parte in regard to obtaining pictures of their client’s injuries. Following this
Court’s lead, counsel discussed the question of taking pictures with AUSA Weinreb, who
advised that the USAO’s office had no objection to the defense taking pictures, but the
prosecution would defer to BOP. Thereafter, BOP offered to take the pictures, but BOP
counsel advised that the pictures would be made available to the prosecution upon their
request. In order to ensure that the injuries are documented periodically, defense counsel
have arranged with BOP to take the pictures of Dzhokhar’s injuries, with defense counsel
present, on Wednesday, May 8, 2013 at 10 a.m.

Counsel now seek an order compelling BOP to permit defense counsel to take
pictures without interference by BOP staff. It is an intrusion into the defense team’s
relationship with their client, potentially complicates the defense team’s developing
relationship with the client to have BOP acting on their behalf, and violates their client’s
privacy interests to bodily integrity, to have a BOP staff member take pictures of various
areas of his body and provide them to government counsel upon request. Should the
pictures be of evidentiary value, and should the defense team determine they should be

used in evidence, they will be produced as part of Rule 16 discovery. However, until a

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decision is made to use the photographs, they should remain within the attorney client
and work product privileges. Government counsel should not have free ranging access
to the work of the defense, or to the defendant’s body simply because he is detained pre-
trial, and happens to be in the physical custody of the BOP. See, e.g., Hickman v. Taylor,
329 U.S. 495 (1947)(“Although the work-product doctrine most frequently is asserted as
a bar to discovery in civil litigation, its role in assuring the proper functioning of the
criminal justice system is even more vital. The interests of society and the accused in
obtaining a fair and accurate resolution of the question of guilt or innocence demand that
adequate safeguards assure the thorough preparation and presentation of each side of the

case.”),!

} “Historically, a lawyer is an officer of the court and is bound to work for the
advancement of justice while faithfully protecting the rightful interests of his clients. In
performing his various duties, however, it is essential that a lawyer work with a certain
degree of privacy, free from unnecessary intrusion by opposing parties and their counsel.
Proper preparation of a client's case demands that he assemble information, sift what he
considers to be the relevant from the irrelevant facts, prepare his legal theories and plan
his strategy without undue and needless interference. That is the historical and the
necessary way in which lawyers act within the framework of our system of jurisprudence
to promote justice and to protect their clients! interests. This work is reflected, of course,
in interviews, statements, memoranda, correspondence, briefs, mental impressions,
personal beliefs, and countless other tangible and intangible ways-aptly though roughly
termed by the Circuit Court of Appeals in this case as the ‘Work product of the lawyer.’
Were such materials open to opposing counsel on mere demand, much of what is now put
down in writing would remain unwritten. An attorney's thoughts, heretofore inviolate,
would not be his own. Inefficiency, unfairness and sharp practices would inevitably
develop in the giving of legal advice and in the preparation of cases for trial. The effect
on the legal profession would be demoralizing. And the interests of the clients and the
cause of justice would be poorly served.' United States v. Nobles, 422 U.S. 225 (1975)
quoting Hickman v. Taylor, 329 U.S. 495, at 510-511.

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Accordingly, counsel seek an ex parte, sealed Order permitting them to
photographically document Dzhokhar’s injuries and request that the Court direct the
Bureau of Prisons to permit counsel to periodically take photographs of their client and
the multiple physical injuries inflicted during the course of his arrest and the resulting
medical care. Alternatively, should the Court defer to BOP’s desire to have BOP staff
take the photographs, counsel seek an order compelling BOP to provide the pictures to

defense counsel only, and not to the prosecution.

This motion is based upon the Fourth, Fifth, Sixth and Eighth Amendments to the
U.S. Constitution, and is filed ex parte and under seal in order to protect defense work

product.

LY.
DATED: May 7, 2013 a ows Cf

JUDY CLARKE

MIRIAM CONRAD

WILLIAM FICK

TIMOTHY WATKINS
Attorneys for Dzhokhar Tsarnaev

